Concurring in the result, such consideration as I have been permitted to give the case compels me to express doubt concerning one proposition decided and another involved in the opinion.
1. We hold the engineer to be the duly authorized agent of thecounty responsible both for the design of the ditch and the supervision of its construction. Yet we are holding the contractor and not the county liable for a dereliction of the engineer. (There is nothing in the contract requiring the contractor to verify the work of the engineer).
If the plans and specifications call for one thing and the engineer for another, what is the contractor to do? Assuming good faith and due care, he cannot take the responsibility for saying that the engineer's direction is wrong and not in accordance with the plans and specifications. They are the work of the engineer and he is their proper interpreter. The contract makes him the superintendent of the work. The contractor is bound, contractually, to abide the engineer's direction however it is expressed. The stakes set by the engineer with the cross section dimensions they indicate are express directions of the engineer which the contractor is bound to follow. If the responsibility for compliance in detail with plans and specifications were divided between contractor and engineer, public work would be intolerably delayed while the two were finding some way to settle their disputes. To avoid any such absurd situation, the engineer's directions, given and complied with in good faith, are final.
It must follow that, in case of a variance between the plans and specifications and the directions of the engineer, the contractor has performed his contract if, with due care and good faith, he has complied with the latter. The difficulty is not chargeable to any default on his part. The error is that of the county, committed by its representative. Where, in matters of contract, loss accrues from such a delinquency, it is obnoxious both to logic and morals and should be equally odious to law, to penalize the legally blameless party for the benefit of the one legally responsible. *Page 398 
It seems entirely beside the question that the contractor may recover on the engineer's bond. That would be small satisfaction where a large public work must be done over at a cost many times that of the penalty of the bond of the delinquent engineer. But the bond and its attendant rights are but incidents of the situation, wholly fortuitous and in no wise altering the question or removing its solution from the controlling principle that one is liable for the misdoings of his agent within the scope and course of the business delegated to him.
In this case, the specifications recited that the line of the ditch was "indicated on the ground by stakes which have been set by the engineer" and provided also that "the depths and grades given by him shall constitute a part of these specifications." It is open therefore to very persuasive if not convincing argument that in complying with the requirements of the engineer, expressed by his depth and grade stakes, the contractor was complying as well with the specifications, of which the requirements of the stakes were expressly and contractually a component part.
Counsel have referred us to no authorities on this point and I have been prevented from making an independent search for them. But the general principle — that the contractor should not be held responsible legally for the fault of the engineer — is well established. U.S. v. Spearin, 248 U.S. 132, 39 Sup. Ct. 59,63 L.ed. 166, and cases cited, inter alia, U.S. v. Utah, N.  Cal. Stage Co. 199 U.S. 414, 26 Sup. Ct. 69, 50 L. ed. 251, holding that "the contractor should be relieved, if he was misled by erroneous statements in the specifications."
2. The opinion is not based upon but does mention section 6694, G.S. 1923, providing that any "certificate or certificates of the engineer in * * * ditch proceedings of [or] any other estimate or certificate required under any of the drainage laws of this state to be made by him, shall not constitute prima facie or other evidence of the truth of the contents thereof, or of the completion of any ditch or any part thereof by the contractor or otherwise, or of the fulfilment of the contract or part thereof." That provision deals *Page 399 
with no matter of substantive law. It concerns a rule of evidence only and attempts to deny the documents in question all evidentiary effect, notwithstanding their intrinsically high probative character.
In practical operation, the contractor's superintendent is on the job every day working with the engineer. Any admission, though casual, made by him during the work and in consequence of it is a part of the res gestae and remains admissible as evidence. Yet a similar statement, not casual but deliberate, in writing and legally required of the engineer, who occupies to the county a relation similar to that of the superintendent to the contractor, is by arbitrary declaration of the statute denied any weight as evidence. It can't even be used to impeach its author. The contractor's records are competent and weighty evidenceagainst him. Yet the law attempts to say that the public records, if they consist of statements in writing by its engineer, are not to be considered by the judge or jury who must try the fact. He may be impeached by a carelessly uttered oral statement, but his calculated written ones may not be so used.
May it not be beyond the constitutional competency of the state, in dealing with its rights as a contractor and possible litigant, to handicap its opponent by any such one-sided and utterly dishonest rule of evidence; one which attempts to say that its own admissions against interest, however solemnly made, shall have no weight as evidence while those of the contractor retain their former probative force? May not such handicapping of one litigant by denying it the use of such obviously relevant, material and persuasive evidence be a violation of the constitutional guaranties of due process and equal protection of law, the purpose of which is to "secure the individual from the arbitrary exercise of the powers of government, unrestrained by the established principles of private rights and distributive justice." Bank of Columbia v. Okely, 4 Wheat. 235, 4 L. ed. 559.
The investigation and determination of litigation are judicial not legislative functions. It is not for the lawmaking power to say what weight shall be given or that none shall be attached to *Page 400 
evidence which is clearly relevant, material and of obvious probative effect. The legislature may declare that certain things shall be prima facie evidence. That is but shifting the burden of proof. But it cannot make them conclusive, unless it is dealing with a matter of substantive law. How can it so far control judicial actions as to say that the latter can attach no weight to evidence which has in fact great probative force and is frequently decisive.
There is plenty of authority for this view. In Vega Steamship Co. v. Consolidated Elev. Co. 75 Minn. 308, 77 N.W. 973,43 L.R.A. 843, 74 Am. St. 484, it was held that the legislature could not so far interfere with judicial investigation of facts as to make conclusive certificates of weight of the state weighmaster. "The legislature cannot in this manner provide for the arbitrary exercise of power, so as to deprive a person of his day in court to vindicate his rights. And the law which closes his mouth absolutely when he comes into court is the same, in effect, as the law which deprives him of his day in court." In State ex rel. Roche v. Rogers, 97 Minn. 322 (328), 106 N.W. 345
(347), it was observed that "the control of the legislature over the subject of evidence proper is generally subject to the limitation that it must not arbitrarily forbid the investigation of facts." In Meyer v. Berlandi, 39 Minn. 438 (442), 40 N.W. 513
(515), (1 L.R.A. 777, 12 Am. St. 663), a law was held constitutionally objectionable because of its arbitrary attempt to make certain evidence conclusive. Its effect to "preclude a party from showing the truth, would be nothing short of confiscation of property and a destruction of vested rights without due process of law." In Howard v. Moot, 64 N.Y. 262
(268), it was taken as conceded "that a law that should make evidence conclusive which was not so necessarily in and of itself, and thus preclude the adverse party from showing the truth, would be void * * *." Dean Wigmore's conclusion is this:
"The legislative function is separate from the judicialfunction; and a statute which attempts in effect to exercise a judicial power is invalid. The judicial power involves the application of the law to concrete facts and, therefore, the investigation and establishment *Page 401 
of the facts. Any statute which prevents the judicial body from ascertaining the facts in litigation coming properly before it is ineffective." (1 Wigmore, Ev. [2d ed.] 89).
As observed in Pleasants v. Meng, 1 Dallas, 380, 1 L. ed. 185, "the nature of evidence necessarily implies an adverse right to controvert and repel." It ought to be clear, therefore, that one party to litigation cannot be denied the privilege of introducing highly important and possibly decisive evidence while the other party is subjected to no such restriction of his proof. The denial of due process and equal protection of the law in such cases is obvious.
The first point thus questioned has been argued both in the briefs and at the bar, but without citation of relevant authority. It is important and might prove decisive of this case. The latter point may not be of much present moment, but it is enough of a question so that it ought not to be passed over lightly or its answer assumed. I think there should be a reargument, accompanied by more extended study of both problems than we have had the benefit of so far.